         Case 3:18-md-02843-VC Document 35-2 Filed 06/21/18 Page 1 of 2




                                        Exhibit B

       Pursuant to Paragraph 6 within Pretrial Order No. 1 (Dkt #2) in this MDL, please find

below a list of names of other counsel who have filed cases in this MDL and who support this

leadership application:


        Counsel                      Firm                               Case(s)
 Lesley E. Weaver         Bleichmar Fonti & Auld LLP      Schinder v. Facebook, Inc., et al
                          Oakland, California             3:18-cv-2571-VC (N.D.Ca.)

 Daniel C. Hedlund        Gustafson Gluek PLLC            Schinder v. Facebook, Inc., et al
                          Minneapolis, Minnesota          3:18-cv-2571-VC (N.D.Ca.)

 Christopher P. Ridout    Zimmerman Reed LLP              Bouillon v. Facebook, Inc.
                          Manhattan Beach, California     4:18-cv-2565 (N.D.Ca.)

 Ben Barnow               Barnow and Associates, P.C.     Iron Wing, et al v. Facebook, Inc.
                          Chicago, Illinois               3:18-cv-2122-VC (N.D.Ca.)

 Timothy G. Blood         Blood Hurst & O'Reardon,        Iron Wing, et al v. Facebook, Inc.
                          LLP                             3:18-cv-2122-VC (N.D.Ca.)
                          San Diego, California
                                                          O'Hara, et al v. Facebook, Inc., et al
                                                          8:18-cv-571-AG-JDE (C.D.Ca.)

 Tina Wolfson             Ahdoot & Wolfson, PC            Diaz Sanchez v. Facebook, Inc., et al
                          Los Angeles, California         3:18-cv-2381-VC (N.D.Ca.)

 Derek W. Loeser          Keller Rohrback L.L.P.          Haslinger v. Facebook, Inc., et al
                          Seattle, Washington             3:18-cv-1984-VC (N.D.Ca.)

 W. Craft Hughes          Hughes Ellzey, LLP              Lodowski, et al v. Facebook, Inc, et
                          Houston, Texas                  al
                                                          3:18-cv-3484-VC (N.D.Ca.)
                                                          4:18-cv-907 (S.D.Tx.)

 Archibald I. Grubb, II   Beasley, Allen, Crow,           Williams v. Facebook, Inc., et al
                          Methvin, Portis & Miles, P.C.   2:18-cv-535-RDP (N.D.Al.)
                          Montgomery, Alabama

 Karen Hanson Riebel      Lockridge Grindal Nauen         Gennock, et al v. Facebook, Inc., et al
                          P.L.L.P.                        3:18-cv-1891-VC (N.D.Ca.)
       Case 3:18-md-02843-VC Document 35-2 Filed 06/21/18 Page 2 of 2




                      Minneapolis, Minnesota
Arthur M. Murray      Murray Law Firm                Gennock, et al v. Facebook, Inc., et al
                      New Orleans, Louisiana         3:18-cv-1891-VC (N.D.Ca.)

Kenneth W. DeJean     Law Offices of Kenneth W. Gennock, et al v. Facebook, Inc., et al
                      Dejean                    3:18-cv-1891-VC (N.D.Ca.)
                      Lafayette, Louisiana

April F. Doss         Saul Ewing Arnstein & Lehr, Pelc v. Facebook, Inc., et al
                      LLP                         3:18-cv-2948-VC (N.D.Ca.)
                      Baltimore, Maryland

Michael J. Flannery   Cuneo Gilbert & LaDuca, LLP O'Hara, et al v. Facebook, Inc., et al
                      St. Louis, Missouri         8:18-cv-571-AG-JDE (C.D.Ca.)

Marlon E. Kimpson     Motley Rice LLC                Skotnicki v. Facebook, Inc., et al.
                      Mount Pleasant, South          1:18-cv-655-UNA (D.De.)
                      Carolina
                                                     Picha et al. v. Facebook, Inc., et al.
                                                     3:18-cv-2090-VC (N.D.Ca.)
